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              EXHIBIT 7
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                                 HIGHLY CONFIDENTIAL

                                                                    Page 1

   1
   2                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
   3                                  ALEXANDRIA DIVISION
                  _____________________
   4
                  UNITED STATES,               )Case No.
   5              et al.,                      )1:23-cv-00108-LMB-JFA
                                               )
   6                   Plaintiffs,             )
                                               )
   7              vs.                          )
                                               )
   8              GOOGLE LLC,                  )
                                               )
   9                   Defendant.              )
                  _____________________)
 10
 11                             - HIGHLY CONFIDENTIAL -
 12
 13                        VIDEOTAPED 30(b)(6) DEPOSITION OF
 14                   NATIONAL HIGHWAY TRAFFIC SAFETY ASSOCIATION
 15                            through the testimony of
 16                                    SUSAN A. McMEEN
 17                                 September 26, 2023
 18                                         2:55 p.m.
 19
 20
 21
                  Reported by:      Bonnie L. Russo
 22               Job No. 6105353

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                                                           HIGHLY CONFIDENTIAL
                                                                  Page 2                                                           Page 4
       1          Videotaped 30(b)(6) Deposition of                         1          INDEX
                                                                            2   EXAMINATION OF SUSAN A. McMEEN                   PAGE
       2     National Highway Traffic Safety Association
                                                                            3   BY MR. GREENBAUM             7
       3     through the testimony of Susan A. McMeen held                  4
       4     at:                                                            5
       5                                                                    6              EXHIBITS
                                                                            7
       6                                                                    8   Exhibit 140 Plaintiff United States  17
       7                                                                               of America's Response to
       8                                                                    9          Defendant Google LLC's
                                                                                       Second Set of Interrogatories
       9     Paul, Weiss, Rifkind, Wharton & Garrison, LLP
                                                                           10          to the United States
      10            2001 K Street, N.W.                                    11   Exhibit 141 E-Mail dated 11-19-20      57
      11            Washington, D.C.                                                   NHTSA-ADS-0000500223-233
      12                                                                   12
                                                                                Exhibit 142 2022 NHTSA ADAS Campaign        74
      13
                                                                           13
      14                                                                        Exhibit 143 Google Display           75
      15                                                                   14          Observations
      16                                                                   15   Exhibit 144 E-Mail Chain dated 8-10-22 86
                                                                                       Attachment
      17                                                                   16          NHTSA-ADS-00002252582-648
      18     Pursuant to Notice, when were present on behalf               17
      19     of the respective parties:                                    18
                                                                           19
      20
                                                                           20
      21                                                                   21
      22                                                                   22   (Exhibits bound separately.)

                                                                  Page 3                                                           Page 5
       1   APPEARANCES:
       2                                                                    1             PROCEEDINGS
       3   On behalf of the Plaintiffs:                                     2              (2:55 p.m.)
       4    DAVID GROSSMAN, ESQUIRE
            MARK H.M. SOSNOWSKY, ESQUIRE                                    3
       5    SEAN CARMAN, ESQUIRE
            ALVIN CHU, ESQUIRE                                              4            THE VIDEOGRAPHER: We are now on
       6    VINNIE SIDHU, ESQUIRE                                           5    the record.
            UNITED STATES DEPARTMENT OF JUSTICE
       7    450 Fifth Street, N.W.                                          6           This begins the testimony of Susan
            Washington, D.C. 20530
       8    david.grossman@usdoj.gov                                        7    A. McMeen taken in the matter of the United
            mark.sosnowsky@usdoj.gov                                        8    States versus -- the United States, et al.
       9    sean.carman@usdoj.gov
            alvin.chu@usdoj.gov                                             9    versus Google LLC, case filed in the U.S.
      10    vinnie.sidhu@usdoj.gov
      11   On behalf of the Defendant:                                     10    District Court for the Eastern District of
      12    CARTER E. GREENBAUM, ESQUIRE
                                                                           11    Virginia, Alexandria Division.
            PAUL, WEISS, RIFKIND,
      13    WHARTON & GARRISON, LLP                                        12           The time is currently 2:55 p.m., and
            1285 Avenue of the Americas
      14    New York, New York 10019                                       13    the date is September 26, 2023. We are at the
            cgreenbaum@paulweiss.com
      15       -and-
                                                                           14    offices of Paul Weiss, 2001 K Street,
            ANNELISE CORRIVEAU, ESQUIRE                                    15    Northwest, in Washington, D.C.
      16    PAUL, WEISS, RIFKIND,
            WHARTON & GARRISON, LLP                                        16           The videographer is Jonathan Perry
      17    2001 K Street, N.W.
            Washington, D.C. 20006
                                                                           17    and the court reporter is Bonnie Russo both
      18    acorriveau@paulweiss.com                                       18    here on behalf of Veritext.
      19
           Also Present:                                                   19           Will counsel present please
      20   Jonathan Perry, Videographer
           Erin Hendrixson, Department of Transportation
                                                                           20    introduce themselves and state whom they
      21   Also Present Via Remotely:                                      21    represent.
           Steve Hench, National Highway Traffic Safety
      22   Administration                                                  22           MR. GREENBAUM: My name is Carter

                                                                                                                       2 (Pages 2 - 5)
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                                                     Page 78                                                 Page 80
       1      A. I do see that.                            1        spend from Google display to Facebook display?
       2      Q. What do you understand that to mean?      2               MR. GROSSMAN: Objection to form.
       3      A. That they shifted the remaining           3               THE WITNESS: That they shifted the
       4   Google display budget to Facebook display in    4        remaining Google display budget to Facebook
       5   September, which was much stronger click --     5        display in September.
       6   CTRs, which is click-through rates.             6               BY MR. GREENBAUM:
       7      Q. I think you might be going ahead --       7           Q. So your media agency is recommending
       8      A. Oh, sorry.                                8        shifting spend from purchasing display
       9      Q. -- to the next sentence --                9        advertising using Google to purchasing display
      10      A. Oops. Sorry.                             10        advertising using Facebook here --
      11      Q. -- but I was reading the first one.      11               MR. GROSSMAN: Objection to form.
      12   But we will get there in just a moment.        12               BY MR. GREENBAUM:
      13      A. Okay.                                    13           Q. -- is that right?
      14      Q. So the first sentence was: "The          14               MR. GROSSMAN: Objection to form and
      15   display campaign launched on July 22nd and was 15        foundation.
      16   added as a complement in tandem with Google    16               THE WITNESS: That is what it says.
      17   Search to increase the reach of the campaign." 17               BY MR. GREENBAUM:
      18         What does that mean, to increase the     18           Q. Do you recall telling your media
      19   reach of the campaign?                         19        agency not to shift spend from Google to
      20      A. Reach is how many people you can         20        Facebook?
      21   reach. How many people you can reach in a      21           A. I do not recall that.
      22   campaign.                                      22           Q. Okay. You can put this document
                                                     Page 79                                                 Page 81
       1      Q. So this display campaign was                   1   aside.
       2   launched to increase the reach of the campaign?      2          So we talked in your last deposition
       3      A. It was added as a component to reach           3   about when you personally learned about this
       4   the campaign in tandem.                              4   lawsuit.
       5      Q. The next sentence says: "The                   5          Do you recall that?
       6   highest performing display unit was the 580 by       6      A. I'm sorry. What's the question?
       7   400 at 0.08."                                        7      Q. I want to talk to you about -- in
       8         Do you see that?                               8   your role as a representative of NHTSA about
       9      A. Yes.                                           9   when NHTSA first learned of this lawsuit.
      10      Q. And the next line says:                       10          Do you know when that was?
      11   "Unfortunately, the average CTR for this            11      A. Sometime in the end of February,
      12   campaign was at 0.06 percent, which is much         12   beginning of March.
      13   lower than other tactics on the plan.               13      Q. So was that after the Department of
      14   Recognizing this, we shifted the remaining          14   Justice filed suit?
      15   Google display budget to Facebook display in        15          MR. GROSSMAN: I just want to
      16   September, which has much stronger CTRs."           16   caution the witness not to reveal the content
      17         Did I read that correctly?                    17   of any attorney-client communications related
      18      A. That's correct.                               18   to this case. You can answer with regard to
      19      Q. What does CTRs stand for?                     19   when certain communications happened.
      20      A. Click-through rate.                           20          THE WITNESS: It's my understanding
      21      Q. And what do you understand to be              21   from NHTSA that it was the end of February,
      22   conveyed here in this report about shifting         22   beginning of March.

                                                                                               21 (Pages 78 - 81)
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                                         HIGHLY CONFIDENTIAL
                                                   Page 82                                              Page 84
       1          BY MR. GREENBAUM:                         1      A. Yes. Thank you.
       2      Q. And that's after the Department of         2      Q. Am I correct that Stratacomm
       3   Justice filed this lawsuit?                      3   purchases were on behalf of NHTSA?
       4      A. That's my understanding.                   4      A. Yes.
       5      Q. Prior to the Department of Justice         5      Q. Does Stratacomm have a contract with
       6   reaching out in connection with this lawsuit,    6   Google to purchase media on behalf of NHTSA?
       7   did any of NHTSA's media agencies raise any      7         MR. GROSSMAN: Objection to form.
       8   concern that NHTSA had suffered damage as a      8         THE WITNESS: So we have several
       9   result of any anticompetitive action by Google?  9   Stratacomm contracts. So I guess it would
      10          MR. GROSSMAN: Objection to form and 10        depend on which one you're referring to.
      11   foundation.                                     11         BY MR. GREENBAUM:
      12          THE WITNESS: Can you repeat the          12      Q. I am trying to ask a different
      13   question.                                       13   question which is: Who has the contract with
      14          BY MR. GREENBAUM:                        14   Google? Do you know if Stratacomm has a
      15      Q. Prior to the Department of Justice        15   contract with Google to purchase advertising?
      16   reaching out in connection with this lawsuit,   16      A. So, again, you need to be a little
      17   did any of NHTSA's media agencies raise any     17   bit more specific because we have multiple
      18   concern that NHTSA had suffered damages as a 18      Stratacomm contracts.
      19   result of any anticompetitive action on the     19      Q. I am not talking about NHTSA's
      20   part of Google?                                 20   contracts with Stratacomm. I am asking a
      21          MR. GROSSMAN: Objection to form and 21        separate question.
      22   foundation.                                     22         Does Stratacomm have a contract with
                                                   Page 83                                              Page 85
       1        THE WITNESS: No, I don't remember.        1     Google to purchase advertising?
       2   No.                                            2        A. So I don't and my -- my COR --
       3           BY MR. GREENBAUM:                      3     actually, not myself. But our CORs do not --
       4      Q. Prior to February of 2023, did           4     we don't see that information because that
       5   anyone at NHTSA raise any concern that NHTSA 5       would be almost considered a subcontractor
       6   had suffered damages as a result of any        6     really in the sense of contract law. And we --
       7   anticompetitive action by Google?              7     we don't -- we just work with our contractor.
       8           MR. GROSSMAN: Objection to form and 8           Q. Understood. Do you review invoices
       9   foundation.                                    9     from Google?
      10           THE WITNESS: Not -- I do not          10        A. Again --
      11   recall.                                       11            MR. GROSSMAN: Objection to form.
      12           BY MR. GREENBAUM:                     12            THE WITNESS: Again, so if it was
      13      Q. Am I correct that Stratacomm or its     13     within the paid media buy, NHTSA does receive
      14   subcontractors purchase media on behalf of    14     invoices from the contractor being Stratacomm
      15   NHTSA in connection with their campaigns that 15     or Ad Council or our other -- other
      16   they run?                                     16     contractors, and, you know, if that's proof of
      17           MR. GROSSMAN: Objection to form.      17     showing payment, then they would have that
      18           THE WITNESS: Can you repeat the       18     included.
      19   question.                                     19            BY MR. GREENBAUM:
      20           BY MR. GREENBAUM:                     20        Q. And in connection with your
      21      Q. It was a poorly worded question, so     21     preparation today. Did you review any invoices
      22   let me try again.                             22     from Google?

                                                                                          22 (Pages 82 - 85)
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                                                     Page 94                                                 Page 96
       1         BY MR. GREENBAUM:                              1   you very much for your time. I have no further
       2      Q. In connection with today's                     2   questions, but appreciate all the time we spent
       3   deposition, did you ask your COR about the           3   together over two days. So thank you.
       4   process by which Google's -- gets paid for the       4         THE WITNESS: Thank you.
       5   services it provides to your ad agencies?            5         MR. GROSSMAN: Nothing further.
       6         MR. GROSSMAN: Objection to form.               6         Can we get a read-out of the final
       7         THE WITNESS: I didn't specifically             7   time spent on the record.
       8   ask Google. I just -- I was asking in general        8         THE VIDEOGRAPHER: Final time was 80
       9   how they do it and how they use -- you know,         9   minutes.
      10   the process they go through to do approvals of      10         MR. GROSSMAN: I just want to -- I
      11   invoices.                                           11   just want to --
      12         BY MR. GREENBAUM:                             12         MR. GREENBAUM: Can we go off the
      13      Q. And are the -- putting aside that             13   record.
      14   you don't know who the invoices are billed          14         MR. GROSSMAN: Can we go off.
      15   to --                                               15         THE VIDEOGRAPHER: Yes.
      16      A. Uh-huh.                                       16         Going off the record at 4:44. This
      17      Q. -- is the invoice for Google                  17   ends the deposition.
      18   services on the vehicle campaigns billed to         18         (Whereupon, the proceeding was
      19   NHTSA?                                              19   concluded at 4:44 p.m.)
      20      A. No. It gets billed to our ad -- you           20
      21   know, whomever is doing the -- the buy.             21
      22      Q. And that whomever could be one of             22
                                                     Page 95                                                 Page 97
       1   Stratacomm's subcontractors?                     1               CERTIFICATE OF NOTARY PUBLIC
       2          MR. GROSSMAN: Objection to form and 2                   I, Bonnie L. Russo, the officer before
       3   foundation.                                      3       whom the foregoing deposition was taken, do
       4          THE WITNESS: Yes. Like, as I              4       hereby certify that the witness whose testimony
       5   explained, and they do it on behalf of NHTSA.    5       appears in the foregoing deposition was duly
       6          MR. GREENBAUM: Okay. You can put 6                sworn by me; that the testimony of said witness
       7   this to the side.                                7       was taken by me in shorthand and thereafter
                                                            8       reduced to computerized transcription under my
       8          I think -- can we take a break, and
                                                            9       direction; that said deposition is a true
       9   if we take a break now, I might be able to wrap
                                                           10       record of the testimony given by said witness;
      10   up quickly.
                                                           11       that I am neither counsel for, related to, nor
      11          MR. GROSSMAN: Sure.
                                                           12       employed by any of the parties to the action in
      12          THE WITNESS: Great.
                                                           13       which this deposition was taken; and further,
      13          MR. GREENBAUM: Let's go off the
                                                           14       that I am not a relative or employee of any
      14   record.
                                                           15       attorney or counsel employed by the parties
      15          THE VIDEOGRAPHER: Off the record at 16            hereto, nor financially or otherwise interested
      16   4:34. This ends Media Unit No. 1. We are off    17       in the outcome of the action.
      17   the record.                                     18
      18          (A short recess was taken.)              19
      19          THE VIDEOGRAPHER: On the record at                        <%11937,Signature%>
      20   4:44. This begins Media Unit 2 in the           20              Notary Public in and for
      21   testimony of Susan McMeen.                      21              the District of Columbia
      22          MR. GREENBAUM: Ms. McMeen, thank 22               My Commission expires: August 14, 2025

                                                                                               25 (Pages 94 - 97)
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